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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

  Case No.        EDCV19-00871-JGB(KKx)                               Date    May 21, 2019
  Title    Monster Energy Co. & Mohita Yalamanchi v. Kathy A. Baran, et al


  Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


               MAYNOR GALVEZ                                         Adele C. Frazier
                  Deputy Clerk                                        Court Reporter


          Attorney(s) Present for Plaintiff(s):           Attorney(s) Present for Defendant(s):
                   David Hirson                                     David E. Pinchas
                 Evelyn Love Hahn
                Megan Nicole Guzman
  Proceedings:       Ex Parte Application for Temporary Restraining Order (Doc. No. 6)

        Counsel make their appearances. The Court hears oral argument on Plaintiffs' Ex Parte
 Application for a Temporary Restraining Order. The Court grants the request.

         IT IS HEREBY ORDERED that Defendants immediately postpone the effects of the
 denial of the Petition for Nonimmigrant Worker (Form I-129, H-1B Petition) and concurrent
 extension of status filed by Monster Energy Co. on behalf of Ms. Mohita Yalamanchi,
 retroactive to the date of denial on April 1, 2019. This order remains in effect until a full hearing
 for determination of the Order to Show Cause Why a Preliminary Injunction Should Not Issue.

         IT IS FURTHER ORDERED that the parties shall appear at 10:00 a.m. on June 14,
 2019, before the Honorable Jesus G. Bernal in Courtroom 1, located at 3470 Twelfth Street,
 Riverside, CA 92501, for a hearing to show cause why Defendants should not be preliminary
 enjoined from postponing the effect of the denial of the H-1B petition and concurrent application
 for extension of status during the pendency of the proceedings. Plaintiff's Brief shall be filed by
 May 27, 2019. Defendant's Opposition shall be filed by June 3, 2019. Reply, if any, shall be
 filed by June 7, 2019. In addition to argument typical of preliminary injunctions, briefs should
 address what was submitted in support of Yalamanchi's previously approved H-1B petitions, the
 standard for review for Yalamanchi’s H-1B petitions and whether/how it has changed since her
 previously approved petitions, and any USCIS policy changes affecting adjudication of H-1B
 petitions.
         IT IS SO ORDERED.

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